        Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

        v.
                                                                 CRIMINAL ACTION
 ANTHONY BERNARDLY JONES                                         NO. 02-778



PAPPERT, J.                                                               October 20, 2021
                                    MEMORANDUM
       Late last year, the Court denied Anthony Bernardly Jones’ Motions for

compassionate release or a reduction of his sentence under 18 U.S.C. § 3582(c)(1)(A), in

part because he failed to demonstrate that extraordinary or compelling reasons justified

his release. Now, in an apparent attempt to circumvent that requirement, Jones moves

for a reduction under § 3582(c) more generally. But no other subdivision of § 3582(c)

authorizes the reduction he seeks, and the Court denies the Motion accordingly.

                                              I

       On August 29, 2002, Jones robbed a bank of $10,680 while carrying a semi-

automatic handgun and wearing a police scanner. (Mem. Op. at 1, ECF No. 121.) He

remained a fugitive until his arrest in October of 2002. (Id.) A jury then convicted

Jones of armed bank robbery in violation of 18 U.S.C § 2113(d) and brandishing a

firearm during a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A)(i) and (ii).

(Id.) Judge Buckwalter sentenced Jones to 184 months’ imprisonment; 100 months for




                                              1
          Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 2 of 6




the § 2113 conviction and a consecutive eighty-four months on the § 924(c) charge.

(Id.)1

         Last year, Jones filed two Motions seeking compassionate release or a reduction

in his sentence under 18 U.S.C. § 3582(c)(1)(A). (ECF Nos. 101, 106.) He argued that

his medical conditions put him at heightened risk of COVID-19 and that an amendment

to U.S.S.G. § 2B3.1(b)(7) would have reduced his guideline range had it been in effect

when he was sentenced. (Mem. Op. at 2–3; ECF No. 121) The Court denied those

motions, concluding that Jones presented no extraordinary and compelling reasons for

his relief, and that even if he had, the sentencing factors listed in 18 U.S.C. § 3353(a)

counseled against releasing him. (Id. at 5–8; Order, ECF No. 121.)

         Less than nine months later, Jones moved again for a reduction in his sentence.

(Mot., ECF No. 125). He now argues that he is not required to show extraordinary and

compelling reasons for his release because § 3582(c) “permits courts to modify an

imposed imprisonment to any extent provided by statute.” (Id. at 1.) In his view, he

need only convince the Court to reconsider its balancing of the § 3353(a) factors. (Id. at

1–2.)

         Jones offers two reasons for why these factors now tip in his favor: First, when

his criminal history score was originally calculated, his conviction under Pennsylvania’s

Simple Assault Statute qualified as a “crime of violence” under the residual clause of

U.S.S.G. § 4B1.2(a)(2). Then, in 2016, Amendment 798 replaced the residual clause

with a list of enumerated offenses that did not include simple assault. As a


1       Jones’ original sentence was vacated for reconsideration in light of United States v. Booker,
543 U.S. 220 (2005), but Judge Buckwalter imposed the same sentence on remand. United States v.
Jones, 240 F. App'x 977, 977 (3d Cir. 2007). His case was reassigned to this Court on May 11, 2016.
(Order Reassigning Case, ECF No. 93.)

                                                  2
            Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 3 of 6




consequence, Jones says his sentencing Guideline range would be lower if he were

sentenced today. (Id. at 5–7.) Second, Jones argues his conduct in the months since his

previous Motions shows he is rehabilitated and no longer a threat to the public. (Id. at

8–9.) With the help of his family, Jones has paid the remaining restitution he owed as

a result of his crime, almost $10,000. Compare Mot. at 19 with Mem. Law Supp.

Compassionate Release/Reduction in Sentence at 14, ECF No. 106. He also earned a

Paralegal Certificate, completing the course with distinction and in record time. (Id. at

9.)

          The Government opposes his Motion, arguing that Jones has failed to

demonstrate extraordinary and compelling reasons for a reduction in his sentence, as

required by § 3582(c)(1)(A). (Gov. Resp. at 5, ECF No. 127.)

                                                     II

          In general, courts cannot modify a term of imprisonment once it has been

imposed. 18 U.S.C. § 3582(c). Section 3582(c) creates four exceptions to this rule, three

of which are potentially relevant to Jones:2

          First, § 3582(c)(1)(A)(i) permits a court to reduce a defendant’s sentence if

“extraordinary and compelling reasons warrant such a reduction” and a reduction is consistent

with the sentencing factors listed in 18 U.S.C. § 3553(a). Before defendants can move for relief

under this section, they “must at least ask the Bureau of Prisons (BOP) to do so on their behalf

and give BOP thirty days to respond.” United States v. Raia, 954 F.3d 594, 595 (3d Cir. 2020).

          Second, the Court may modify a sentence “to the extent otherwise expressly permitted

by statute or by Rule 35 of the Federal Rules of Criminal Procedure.” § 3582(c)(1)(B).



2   Jones is not seventy, so § 3582(c)(1)(A)(ii) cannot apply. See Mem. Op. at 2.

                                                     3
         Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 4 of 6




       Third, the Court can reduce a sentence if revisions to the Sentencing Guidelines would

result in a lower sentencing range for the defendant and the reduction would be consistent with

the applicable policy statements of the Sentencing Commission and the factors outlined in

§ 3553(a). Id. at (c)(2).

       Since Jones claims that § 3852(c) permits the court to reduce his sentence without a

finding that extraordinary and compelling reasons justify reduction, the Court will consider

whether he satisfies either § 3582(c)(1)(B) or (c)(2) before addressing his compliance with

§ 3582(c)(1)(A).

                                                 III

        Jones appears to believe, incorrectly, that § 3582(c)(1)(B) gives the Court broad

discretion to modify his sentence. See Mot. at 1; Reply at 1–2. Section (c)(1)(B) only authorizes

modifications that are “expressly permitted by statute” or by Rule 35.3 Jones does not point to

any statute that would permit modification of his sentence. He mostly argues that a reduction is

justified by the § 3553(a) factors, but § 3353(a) does not itself authorize sentence modifications.

Rather, it lays out factors that must be considered as part of a modification that otherwise

complies with § 3582(c)(1)(A) or (c)(2).

       Similarly, a change to the Sentencing Guidelines does not “expressly permit” a sentence

reduction. Rather, the only way to request a sentence reduction based solely on changes to the

Guidelines is by a motion pursuant to § 3582(c)(2). But that section only authorizes reductions

that are consistent with the applicable policy statements of the Sentencing Commission.

§ 3582(c)(2). Section 1B1.10 of the Sentencing Guidelines Manual cabins § 3582(c)(2) to a


3       Rule 35 only authorizes modifications to correct clear errors or to reward a defendant for
assisting an investigation or prosecution. Fed. R. Crim. P. 35(a)–(b). Neither circumstance exists in
this case.


                                                  4
           Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 5 of 6




small list of amendments. Amendment 798 is not on that list. The Court cannot reduce a

sentence under § 3582(c)(2) based on an amendment that the Sentencing Commission declined

to make retroactive. U.S.S.G. § 1B1.10(a)(2)(A); Dillon v. United States, 560 U.S. 817, 831

(2010).

                                                  IV

          That leaves Jones with only one option: a possible sentence reduction under

§ 3582(c)(1)(A)(i). And just like last year, the Court must deny Jones’ Motion under that

section.

          To begin, Jones did not comply with the exhaustion requirements of § 3582(c)(1)(A).

He contacted the BOP to request compassionate relief on the same day that he filed his Motion.

(Mot. at 21; Mot. Ex. 1, ECF No. 125.) The Court cannot relieve Jones of his duty to first

provide the BOP an opportunity to act on his request. Raia, 954 F.3d at 597.

          Even if Jones had properly exhausted his claims, he fails to demonstrate any

extraordinary and compelling reasons for the requested reduction. Jones’ asserted grounds for

relief — the change to § 4B1.2 and his continued rehabilitation — are not extraordinary and

compelling reasons for a sentence reduction. The Third Circuit has made clear that non-

retroactive changes in the law are not “extraordinary and compelling” reasons for modifying a

sentence, either alone or in combination with other factors. United States v. Andrews, 12 F.4th

255, 261 (3d Cir. 2021). And rehabilitation alone cannot be the basis for a reduced sentence. 28

U.S.C. § 944(t).

                                                       V.

          Jones asks the Court to reconsider its balancing of the § 3353(a) sentencing factors in

light of his conduct over the past year. But even if the Court agreed with Jones that those factors



                                                   5
         Case 2:02-cr-00778-GJP Document 129 Filed 10/20/21 Page 6 of 6




no longer weighed against release, it could not grant him the relief he seeks. His request cannot

be granted under either § 3582(c)(1)(B) or (c)(2), he failed to comply with the procedural

requirements of § 3582(c)(1)(A) and he did not show extraordinary and compelling reasons for a

reduction in his sentence. An appropriate Order follows.

                                                            BY THE COURT:




                                                            /s/ Gerald J. Pappert
                                                            GERALD J. PAPPERT, J.




                                                6
